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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 FEDERAL TRADE COMMISSION,

                                Plaintiff,

                  v.                                     Civil Action No. 1:20-cv-03590 (JEB)

META PLATFORMS, INC.

                                Defendant.


                              JOINT STIPULATIONS OF FACT

       The parties submit to the Court the joint stipulations of fact identified below. As agreed

between the parties, any stipulation is without prejudice to a party’s right to dispute the relevance

of any fact.

1.    Meta sometimes refers to Facebook, Instagram, Messenger, and WhatsApp as the
“Family of Apps” or “FoA.”

2.     Facebook launched in 2004 in the United States.

3.     In 2008, Meta launched a Facebook mobile application in the United States.

4.     Profile features have been available on Facebook since it launched.

5.       The Facebook Profile is a place where users can share information about themselves
(e.g., interests, photos, videos, current city, and hometown).

6.     Facebook users have been able to add other users as “friends” since Facebook launched.

7.      On Facebook, a user can submit a “friend” request to another user. That other user has to
agree to establish a connection, at which point each user is a “friend” of the other – a reciprocal
relationship is automatically created.

8.     In approximately October 2005, Meta began enabling users to upload multiple photos and
videos to Facebook in the United States.

9.      In approximately September 2006, Meta introduced Feed (or “News Feed”) on Facebook
in the United States.

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10.     In approximately November 2007, Meta introduced Pages on Facebook in the United
States.

11.    In approximately October 2010, Meta launched Facebook Groups in the United States.

12.     In approximately August 2015, Meta introduced Facebook Live in the United States for
certain public figures.

13.    Meta made Facebook Live more widely available in the United States by approximately
April 2016.

14.     In approximately October 2016, Meta introduced Facebook Marketplace in the United
States.

15.    Facebook Marketplace enables users, among other things, to discover, buy, and sell items
on Facebook.

16.    In approximately March 2017, Meta introduced Facebook Stories in the United States.

17.   Facebook Stories, among other things, enables Facebook users to create and share
ephemeral photos and videos.

18.    In approximately August 2017, Meta introduced Facebook Watch in the United States.

19.    In approximately July 2018, Meta introduced Watch Party on Facebook.

20.    In approximately September 2021, Meta introduced Facebook Reels in the United States.

21.    Facebook Reels, among other things, enables Facebook users to create and share short-
form videos.

22.    In July 2023, Meta renamed Facebook Watch to Facebook Video.

23.     As of July 2023, Facebook Video included Reels, long-form video, and Live video in a
single surface on Facebook.

24.    Kevin Systrom and Mike Krieger launched Instagram in October 2010

25.    Since its launch, Instagram has included a Feed.

26.     Since around its launch, users have been able to post photos to Instagram via the “Share”
button.

27.    Since its launch, Instagram users have been able to “follow” the accounts of other users.

28.    In approximately June 2013, Meta introduced its “Video on Instagram” feature in the
United States.
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29.    In approximately December 2013, Meta introduced Instagram Direct in the United States.

30.    In approximately August 2016, Meta introduced Instagram Stories in the United States.

31.    In approximately June 2018, Meta introduced IGTV in the United States.

32.    At the time it was introduced, IGTV was a long-form video platform accessible as both a
stand-alone IGTV application and as a surface on Instagram.

33.    In approximately February 2022, Instagram announced that it would no longer be
supporting a stand-alone app for IGTV.

34.    In approximately August 2020, Meta launched Instagram Reels in the United States.

35.    Instagram Reels enable Instagram users, among other things, to create and share short-
form videos.

36.   Meta has regularly published Community Standards Enforcement Reports (CSERs) since
May 15, 2018.

37.    Meta has included data concerning Instagram in its CSERs since November 13, 2019.

38.     Prior to its acquisition by Meta, Instagram had user reports that allowed Instagram users
to flag objectionable content.

39.   A blocklist or blacklist is a tool that automatically blocks IP addresses, domain names,
URLs, email addresses, or phone numbers associated with malicious conduct.

40.    Meta has used blocklists on Facebook and Instagram to target servers and devices
associated with spam accounts.

41.    On April 16, 2012, Meta submitted to the FTC a Hart-Scott-Rodino Act Premerger
Notification Form for the Instagram transaction.

42.   Meta and Instagram produced documents to the FTC as part of the Hart-Scott-Rodino Act
Submission and in response to subsequent FTC requests for information.

43.    On May 16, 2012, the FTC issued a request for “additional information and documentary
materials” concerning the proposed transaction (i.e., a “Second Request”).

44.     In response to the Second Request, Meta produced more than 9,000 documents –
collected from several custodians, including Mr. Zuckerberg – and Instagram produced more
than 10,000 documents.

45.    During its investigation, the FTC interviewed Meta executives, including Meta’s chief
executive officer, as well as 49 individuals from 25 nonparty companies.

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46.     On March 13, 2014, Meta submitted to the Federal Trade Commission and Department of
Justice a Hart-Scott-Rodino Act Premerger Notification Form for the WhatsApp transaction.

47.    Between March 13, 2014 and April 3, 2014, Meta and WhatsApp produced to the FTC
more than 1,000 pages of documents and data, including emails collected from the custodial files
of Meta executives.

48.    During its review of the WhatsApp transaction, the FTC interviewed 16 individuals from
9 nonparty companies.

49.     On April 10, 2014, it was publicly reported that the FTC had closed its investigation into
Meta’s acquisition of WhatsApp; the FTC did not issue a “Second Request” for the proposed
transaction upon the expiration of the mandatory 30-day waiting period.

50.     On October 4, 2021, from roughly 8:40 AM PST to roughly 3 PM PST, all of Meta’s apps
(including Facebook, Instagram, and WhatsApp) were subject to a global outage.

51.    Meta’s principal executive offices are located at 1 Meta Way, in Menlo Park, California.

52.    Prior to its acquisition by Meta, Instagram was headquartered in San Francisco,
California.

53.    Prior to its acquisition by Meta, WhatsApp was headquartered in Mountain View,
California.

54.    As of 2024, substantially all of Meta’s revenue is generated from marketers advertising
on Facebook and Instagram.

55.     Since at least 2012, Meta has earned revenue from advertisers located in multiple states
in the United States.

56.    Since at least 2012, Meta has had users who reside in multiple states in the United States.

57.    Instagram launched an Android version of its app in the United States in approximately
April 2012.

58.    Meta entered into an agreement to acquire Instagram on April 8, 2012.

59.    The Instagram acquisition closed on August 31, 2012.

60.    Meta announced its agreement to acquire WhatsApp on February 19, 2014.

61.    On October 6, 2014, Meta completed its acquisition of WhatsApp.

62.  Meta introduced in the United States ads that click to WhatsApp in approximately
December 2017.

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63.   Meta introduced Facebook Messenger in the United States in approximately August
2011.

64.    Meta introduced an iOS version of the Facebook Camera app in the United States on
approximately May 24, 2012.

65.    Facebook was initially designed for a desktop environment.

66.    Meta introduced an iOS version of the Facebook application in the United States in
approximately July 2008.

67.    Meta introduced an Android version of the Facebook application in the United States in
approximately September 2009.

68.    By approximately December 2011, more than half of Facebook’s global users were
accessing Facebook using a mobile device.




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Dated:    April 11, 2025              Respectfully submitted,


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